           Case 11-68628-sms        Doc 96 Filed 07/30/18 Entered 07/30/18 13:22:39                    Desc
                                       Failure to Appear Page 1 of 1

                                   UNITED STATES BANKRUPTCY COURT

                                           Northern District of Georgia


In    Debtor(s)
Re:   Marlene Williams Brewster                            Case No.: 11−68628−sms
      55 Oakmont Lane                                      Chapter: 7
      Covington, GA 30016                                  Judge: Sage M. Sigler

      xxx−xx−2921




                               ORDER OF DISMISSAL FOR FAILURE TO
                           APPEAR AT SECTION 341 MEETING OF CREDITORS



      Whereas the debtor has failed to attend the meeting of creditors pursuant to 11 U.S.C. Section 341; and after
consideration and for good cause shown,

IT IS HEREBY ORDERED that:

      1. The above−styled case is dismissed; and,

      2. Any unpaid filing fees are due payable by the Debtor(s) to the Clerk of Court immediately.

IT IS FURTHER ORDERED that a copy of this order be mailed to the Debtor(s), the attorney for the Debtor(s), the
Trustee, the United States Trustee, all creditors and other parties in interest.




                                                           Sage M. Sigler
                                                           United States Bankruptcy Judge


Dated: July 30, 2018
Form 185
